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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )                   8:06CR133
                     Plaintiff,              )
                                             )
              v.                             )
                                             )         MEMORANDUM AND ORDER
HARVEY LEE FREMONT, JR., and                 )
JOHN DAVIDSON,                               )
                                             )
                     Defendants.             )


       This matter is before the court on defendant John Davidson’s appeal, Filing No. 27,

of the order of the United States Magistrate Judge (“magistrate”), Filing No. 26, denying

Davidson’s motion to sever Counts I and II of the Indictment and to sever defendants’

trials, Filing No. 18. Davidson and Freemont are both charged with burglary, in violation

of 18 U.S.C. § 1153 and Neb. Rev. Stat. § 28-507 in Count II of the Indictment. In Count

I of the Indictment, Freemont is charged with manslaughter while operating a motor vehicle

under the influence of alcohol, in violation of 18 U.S.C. §§ 1153 and 1112. The charges

involve an alleged burglary followed by a high speed chase which resulted in the death of

one of the alleged burglars.

       Under 28 U.S.C. § 636(b)(1)(A), a magistrate can hear and determine nondispositive

matters. See NECrimR 57.1(a)(9) (magistrate may hear and determine motions to sever).

A decision of the magistrate on a motion to sever can be reviewed by the district court, but

will not be modified or set aside unless clearly erroneous or contrary to law. NECrimR

57.2(c).

       The magistrate found that the separate charges involve the same series of events

and further found that an instruction cautioning the jury to give separate consideration to
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each defendant and each charge would obviate any danger of prejudice to defendant

Davidson. The court agrees with the magistrate’s assessment that a jury will be able to

compartmentalize the evidence. See Zafiro v. United States, 506 U.S. 534, 537 (1993)

(noting preference for a joint trial when defendants are indicted together). Defendant

Davidson has not shown that the magistrate’s finding is either clearly erroneous or contrary

to law. Accordingly,

       IT IS ORDERED that defendant Davidson’s appeal, Filing No. 27, of the

magistrate’s order, Filing No. 26, denying his motion to sever, Filing No. 18, is denied.

       DATED this 20th day of July, 2006.

                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          JOSEPH F. BATAILLON
                                          United States District Judge




                                             2
